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                           IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION


    J.O.P., et al.,

            Plaintiffs,
                                                                    Civil Action No.
            v.                                                      8:19-CV-01944-SAG

    U.S. Department of Homeland Security, et al.,

            Defendants.


                                      MEMORANDUM OPINION

            In this class action litigation, filed in 2019, a Plaintiff Class comprised of persons who

    entered this country as unaccompanied minors and later sought asylum sued the government

    Defendants. 1 The Class sought to enforce its members’ rights to have their asylum applications

    adjudicated on the merits by USCIS while they remained physically present in the United States.

    The two parties in this case worked for many months, with the assistance of two different

    magistrate judges, to agree on the terms of a comprehensive Settlement Agreement last year.

    Once fully agreed, the parties executed the agreement, provided notice of the proposed

    agreement to the Plaintiff Class, and attended a fairness hearing before this Court. This Court

    granted final approval of the parties’ Settlement Agreement in November, 2024 and retained

    jurisdiction to enforce its provisions. ECF 205. Defendants have now removed at least one Class

    Member from this country without adjudication of his asylum petition on the merits by USCIS.

    As a result, at this stage of the proceedings, both parties agree that this is just a breach of contract


1
 Defendants are the U.S. Department of Homeland Security (“DHS”), U.S. Citizenship and
Immigration Services (“USCIS”), U.S. Immigration and Customs Enforcement (“ICE”), and
several officials of these agencies (collectively “Defendants” or “government Defendants”).

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    case. It is not a habeas case, or a case assessing the propriety of the government’s recent

    invocation of the Alien Enemies Act (“AEA”).

           Currently pending are three motions: Class Counsel’s emergency motion to enforce the

    Settlement Agreement, ECF 227, and two motions to proceed by pseudonym, ECF 231, 236.

    Defendants have opposed the motions, ECF 248, 249, and Class Counsel filed a reply in support

    of their motion to enforce, ECF 250. This Court held a motions hearing on April 22, 2025. For

    the reasons set forth below, this Court will enforce the terms of the parties’ binding Settlement

    Agreement and will grant the two motions to proceed by pseudonym.

           I.      Background

          Pursuant to the Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”) and the

Due Process Clause of the Fifth Amendment to the United States Constitution, a group of

undocumented immigrants who entered the United States as unaccompanied children

(“Plaintiffs”) brought this action for declaratory and injunctive relief on July 1, 2019. The

Complaint alleged that Defendants unlawfully modified policies governing treatment of an

asylum application by an unaccompanied alien child (“UAC”) 2 in a May 31, 2019 USCIS

Memorandum (“2019 Redetermination Memo”). 3 ECF 1. The Complaint included four named

Plaintiffs, each of whom submitted personal declarations describing their departures from their

countries of birth and their arrivals in the United States, ECF 16, 18, 19, 20. The named Plaintiffs



2
  An “unaccompanied alien child” or “UAC” means “‘a child who—(A) has no lawful
immigration status in the United States; (B) has not attained 18 years of age; and (C) with respect
to whom—(i) there is no parent or legal guardian in the United States; or (ii) no parent or legal
guardian in the United States is available to provide care and physical custody,’ as set forth in 6
U.S.C. § 279(g)(2).” ECF 199-2 at 6, Section II.U.
3
 The Court incorporates herein the extensive discussion of the statutory and regulatory
background in this matter from its prior opinion, ECF 54 at 2-7.


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moved to proceed under pseudonyms in this litigation, ECF 12, and the Court approved that

procedure, ECF 55.

          In 2024, the parties reached a final Settlement Agreement providing relief to a certified

class of young asylum seekers previously determined to be UACs, ECF 199-2, and the Court

granted final approval of the Settlement Agreement on November 25, 2024, ECF 205. The

Settlement Agreement defines the certified Class as “all individuals nationwide who prior to

[February 24, 2025 4]: (1) were determined to be a UAC; and (2) who filed an asylum application

that was pending with USCIS; and (3) on the date they filed their asylum application with USCIS,

were 18 years of age or older, or had a parent or legal guardian in the United States who is

available to provide care and physical custody; and (4) for whom USCIS has not adjudicated the

individual’s asylum application on the merits.” ECF 199-2 at 5, Section II.E.

           Section III.B is among the Settlement Agreement’s core protections for Class Members

    which are relevant to the motion at issue. Section III.B provides that “USCIS will exercise Initial

    Jurisdiction over Class Members’ asylum applications in accordance with the terms of this

    Settlement Agreement and adjudicate them on the merits.” Id. at 7. Other provisions of the

    Settlement Agreement require USCIS’s exercise of initial jurisdiction over Class Member

    asylum applications. See ECF 199-2 at 9, Section III.H (“With respect to DHS’s treatment of

    Class Members in removal proceedings, DHS will refrain from taking the position that USCIS




4
 Section III.A provides that USCIS has “fully rescinded the 2019 Redetermination Memo” and
will issue “a superseding memorandum explaining and implementing this Settlement
Agreement” which “will remain in effect for at least three years” from its effective date. ECF
199-2 at 7. “The superseding memorandum’s effective date will be 90 days after the Court’s final
approval of this Settlement Agreement,” which is February 24, 2025. Id. The Defendants filed a
Compliance Report stating that USCIS had issued a superseding memorandum in accordance
with Section III.A of the Settlement Agreement. ECF 217 ¶ A.


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 does not have Initial Jurisdiction over a Class Member’s asylum application.”).

       Particularly relevant to Class Counsel’s motion to enforce the Settlement Agreement are

Section III.I, which states that “[w]ith respect to any Class Member with a final removal order,

ICE will refrain from executing the Class Member’s final removal order until USCIS issues a

Final Determination on one properly filed asylum application under the terms of this Agreement,”

and Section V.D., which provides that “the complaining Class Member shall not be removed

from the United States” once a motion to enforce has been filed “unless and until the matter has

been resolved in favor of Defendants.” ECF No. 199-2 at 9, 14.

       On March 14, 2025, President Trump signed a Proclamation titled Invocation of the Alien

 Enemies Act Regarding the Invasion of the United States by Tren de Aragua (“AEA

 Proclamation”). ECF 227-2 at 37. Section 1 of the Proclamation directed that “all Venezuelan

 citizens 14 years of age or older who are members of [Tren de Aragua (“TdA”)], are within the

 United States, and are not actually naturalized or lawful permanent residents of the United States

 are liable to be apprehended, restrained, secured, and removed as Alien Enemies.” Id. at 40.

 Section 3 of the Proclamation provides that “all Alien Enemies described in section 1 of this

 proclamation are subject to immediate apprehension, detention, and removal, and . . . shall not

 be permitted residence in the United States.” Id. Section 4 directs “the Attorney General and the

 Secretary of Homeland Security” to “apprehend, restrain, secure, and remove every Alien

 Enemy described in section 1.” Id.

       According to Robert Cerna, Acting Field Office Director Enforcement and Removal

 Operations (“ERO”) at ICE, on March 15, 2025, “aliens” were removed to El Salvador after the

 AEA Proclamation took effect. ECF 227-2 at 46. On that date, ICE removed Cristian, a 20-year-

 old Class Member from Venezuela with a pending asylum application, to prison in El Salvador,



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 which Class Counsel argue is “in clear violation of the Settlement Agreement.” ECF 227-1 at 5.

 Class Counsel filed an Emergency Motion to Enforcement the Settlement Agreement, ECF 227,

 seeking “the Court’s intervention to order Defendants to remedy this violation of the Settlement

 Agreement and prevent any further such violations.” Id.

         II.    Jurisdiction

       Defendants argue that this Court lacks jurisdiction over Plaintiffs’ claims. ECF 248 at 13.

This argument is a nonstarter. On November 25, 2024, this Court issued an Order granting final

approval of the Settlement Agreement, “incorporated” the Agreement “by reference in [the]

Order,” and “directed” the parties “to implement and consummate the Agreement according to

the terms and provisions of the Agreement.” ECF 205 at 3. This Court maintains jurisdiction to

enforce its own orders, and the Settlement Agreement in this matter is no different. See Fairfax

Countywide Citizens Ass’n v. Fairfax Cty., 571 F.2d 1299, 1303 n.8 (4th Cir. 1978) (“Where the

settlement agreement is approved and incorporated into an order of court, the district court

possesses jurisdiction to enforce its own order.”).

       Moreover, the Settlement Agreement and this Court’s final Order approving the

Settlement Agreement both clearly provide this Court with jurisdiction to enforce the

Agreement’s terms. ECF 199-2 at 13, Section V.A (“This Court shall retain exclusive jurisdiction

to supervise the implementation of this Settlement Agreement and to enforce its provisions and

terms…”); ECF 205 at 3 (“The Court retains jurisdiction to enforce the Agreement during the

term of the Agreement[.]”). Contrary to Defendants’ assertions, the instant motion does not sound

in habeas because Plaintiffs are not asking the Court to determine the scope of Defendants’

removal authority under the AEA or challenging the application of the AEA to Cristian or any

other individual Class Member. Rather, Plaintiffs’ motion “seeks to enforce the existing



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Settlement Agreement,” ECF 227, which the Court clearly has jurisdiction to do. See ECF 199-2

at 13, Section V.A; ECF 205 at 3 (“Should any party to the Agreement fail to honor the terms of

this Order, the breaching party may petition for enforcement of this Order[.]”); Williams v. Pro.

Transp., Inc., 388 F.3d 127, 132 (4th Cir. 2004) (“District courts have inherent authority, derived

from their equity power, to enforce settlement agreements.”).

         At bottom, this case, unlike other cases involving the government’s removal of

individuals under the AEA, is a contractual dispute because of the Settlement Agreement, ECF

199-2. See Davis v. Wash. Metro. Area Transit Auth., No. 23-1171, 2023 WL 7410855, at *2 (D.

Md. Nov. 8, 2023) (“The question of whether to enforce a settlement agreement is governed by

‘standard contract principles,’ because a settlement agreement is nothing more nor less than a

contract.”); Hensley v. Alcon Labs., Inc., 277 F.3d 535, 540-41 (4th Cir. 2002) (“[T]o exercise its

inherent power to enforce a settlement agreement, a district court (1) must find that the parties

reached a complete agreement and (2) must be able to determine its terms and conditions.”).

Neither party disputes the existence of the Settlement Agreement, the terms of which are readily

ascertainable and were mutually agreed upon by both parties. See Lopez v. XTEL Const. Grp.,

LLC, 796 F. Supp. 2d 693, 699 (D. Md. 2011). This Court will thus apply standard contract

principles to assess the enforceability of the Settlement Agreement. See Hayward v. Brown, No.

PWG-15-3381, 2017 WL 2117364, at *2 (D. Md. May 16, 2017) (“Under Maryland law,

‘[s]ettlement agreements are enforceable as independent contracts, subject to the same general

rules of construction that apply to other contracts.’” (citation omitted)).

           III.   The Settlement Agreement

                  A. The Class Definition Does Not Exclude Individuals Who are Subject to
                     the AEA. 5

5
    This Court assumes, without deciding, for purposes of interpreting the Settlement Agreement

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       Defendants argue that removal of Cristian did not violate the Settlement Agreement

because “his designation as an alien enemy pursuant to the AEA results in him ceasing to be a

member” of the Class as defined in Section II.E. ECF 248 at 16. Specifically, Defendants contend

that “aliens designated as alien enemies pursuant to the AEA are no longer eligible for asylum, a

requirement for class membership.” Id.

       The Class Definition contains four elements. ECF 205 ¶ 2, ECF 199-2 at 5, Section II.E.

Defendants contend that as to Cristian (and any Class Member against whom the AEA is

invoked), “prong No. 4 of the class definition is unmet” because the “AEA invocation moots the

asylum application such that USCIS cannot adjudicate” and thus “adjudication is not pending.”

ECF 248 at 17. But, nothing in the plain language of the Class Definition or in the larger

Settlement Agreement “requires that USCIS have a present ability to adjudicate the application

on the merits.” Id. Rather, the fourth prong of the Class Definition unambiguously states that the

Class includes individuals “for whom USCIS has not adjudicated the individual’s asylum

application on the merits.” ECF 199-2 at 5, Section II.E. Section II.B defines “[a]djudicate on the

merits” as “to render a decision on the substance of an asylum claim by either granting an

approval or issuing a determination of non-eligibility.” ECF 199-2 at 4. Defendants attempt to

import a temporal limitation into the fourth prong of the Class Definition for which there is no

support within the four corners of the Settlement Agreement. See ACAS, LLC v. Charter Oak

Fire Ins. Co., 626 F. Supp. 3d 866, 874 (D. Md. 2022) (“When interpreting a contract’s terms,

courts must look to the entire language of the agreement, not merely a portion thereof, and must

consider the customary, ordinary and accepted meaning of the language used.” (cleaned up)).

       The Settlement Agreement makes no mention of the AEA. As this Court has stated,



that Cristian is subject to the AEA Proclamation and that the AEA Proclamation is lawful.

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“[n]othing in the plain language of the Class definition mentions the AEA or exempts any persons

otherwise meeting the Class definition from the protections the Settlement Agreement affords.”

ECF 247 at 3. Allegations that Class Members, like Cristian, are subject to the AEA do not

exclude those individuals from the Class under the plain terms of the Settlement Agreement.

       Defendants do not dispute that Cristian meets the first three elements of the Class

Definition in Section II.E. ECF 248 at 17. As to the fourth element, “USCIS has not adjudicated”

Cristian’s application for asylum “on the merits” because USCIS has not “render[ed] a decision

on the substance of [his] asylum claim by either granting an approval or issuing a determination

of non-eligibility.” ECF 199-2 at 4, Section II.B & at 5, Section II.E; ECF 228 (under seal) ¶ 6 &

at 9. Thus, Cristian remains a Class Member and is still entitled to all rights afforded to him under

the Settlement Agreement.

                 B. Removal of a Class Member Who Has Not Received Final Adjudication
                    on the Merits by USCIS of a Properly Filed Asylum Application is a
                    Violation of the Settlement Agreement.

       Under Section III.I, the Settlement Agreement provides that “ICE will refrain from

executing the Class Member’s final removal order until USCIS issues a Final Determination on

one properly filed application under the terms of this Agreement.” ECF 199-2 at 9. According to

Defendants, “final removal order” as used in Section III.I “only applies to final orders of removal

in removal proceedings under Title 8.” ECF 248 at 21. Thus, Defendants contend, “removal

pursuant to the AEA does not violate the settlement agreement” and therefore, removal of Cristian

did not violate the Settlement Agreement. Id.

       Here again, Defendants attempt to add language to the Settlement Agreement that does

not comport with the Agreement’s plain terms. The Settlement Agreement does not define “final

removal order,” and as such, the Court “must give effect to its plain meaning and not contemplate



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what the parties may have subjectively intended…at the time of formulation.” ACAS, LLC, 626

F. Supp. 3d at 874 (citation omitted). In giving the terms their “customary” and “ordinary”

meaning, the Court looks to “the entire language of the agreement” and considers “the character

of the contract, its purpose, and the facts and circumstances of the parties at the time of

execution.” Id. (citations omitted). The Defendants’ narrow definition of “final removal order” is

not supported by the language of the Settlement Agreement or the facts and circumstances

surrounding its execution. The Settlement Agreement specifically defines many terms in Section

II, ECF 199-2 at 4-7, but it does not define or limit the phrase “final removal order.” Here, the

AEA Proclamation served as a final removal order. Defendants executed Cristian’s final removal

from the United States under the AEA Proclamation in contravention of their obligations under

the Settlement Agreement. Defendants to date, in the motions hearing and elsewhere, have

repeatedly asserted that AEA removal is final and irrevocable.

       The Settlement Agreement does not limit the protection against removal provided in

Section III.I to any specific statutory mechanism for removal. In a separate section dealing with

protection against removal when a motion to enforce the Settlement Agreement has been initiated,

the Agreement also contains no limitation on the type of removal, stating only that “the

complaining Class Member shall not be removed from the United States unless and until the

matter has been resolved in favor of Defendants.” ECF No. 199-2 at 14, Section V.D.

       Finally, Defendants’ proposed interpretation of Section III.I is not supported by the

general purpose of the Settlement Agreement, which was to address “a USCIS policy that would

have resulted in the improper removal of many Class Members by causing their asylum

applications to be rejected for lack of jurisdiction” and to allow “Class Members in removal

proceedings to have their asylum applications adjudicated on the merits by USCIS while they



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remain in the United States with access to their counsel.” ECF 227-1 at 16. Indeed, a core purpose

of the Settlement Agreement would be nullified if Class Members with pending asylum

applications could be summarily removed from the United States and thus rendered ineligible for

asylum. The Class Members’ “benefit of the bargain,” which they procured in exchange for

releasing, relinquishing, and discharging their class-wide claims, see ECF 199-2 at 14, consisted

primarily of the assurance that they would not be removed from the United States until USCIS

adjudicated their asylum claims on their merits. See Restatement (Second) of Contracts § 17 (Am.

Law Inst. 1981) (“[T]he formation of a contract requires a bargain in which there is a

manifestation of mutual assent to the exchange and a consideration.”). Construing the undefined

phrase “final removal order” in the narrow manner advocated by Defendants would relieve

Defendants of their obligation to uphold the promises they made to Class Members as

consideration for the relinquishment of Class Members’ action. Excepting removal under the

AEA from the requirements of the Settlement Agreement would also render Defendants’

promises illusory, a construction that violates the illusory promises doctrine. See M & G Polymers

USA, LLC v. Tackett, 574 U.S. 427, 440 (2015) (finding that the illusory promises doctrine

“instructs courts to avoid constructions of contracts that would render promises illusory because

such promises cannot serve as consideration for a contract”); 3 Williston on Contracts § 7:7 (4th

ed. May 2024 Update). And permitting Defendants to remove a Class Member without holding

up their end of the bargain (which is to afford particular process to the pending asylum claims

before removal) undermines the implied duty of good faith and fair dealing incorporated in every

contract. See Restatement (Second) of Contracts § 205 (Am. Law Inst. 1981) (“Every contract

imposes upon each party a duty of good faith and fair dealing in its performance and its

enforcement.”).



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       Therefore, under the plain terms of the Settlement Agreement and fundamental tenets of

contract law, removal from the United States of a Class Member, including but not limited to

Cristian, without a final determination on the merits by USCIS on the Class Member’s pending

asylum application violates the Settlement Agreement.

                 C. The Court Will Enforce the Terms of the Settlement Agreement.

       Defendants’ arguments that this Court should find Section III of the Settlement

Agreement “void and unenforceable” because it “violates public policy,” ECF 248 at 26, carry

no weight. Defendants have not even attempted to meet their burden under Federal Rule of

Procedure 60(b) to procure relief from a final order and instead merely argue common law

principles. See Fed. R. Civ. P. 60(b); Rufo v. Inmates of Suffolk Cty. Jail, 502 U.S. 367, 380

(1992) (“[A] party may obtain relief from a court order when it is no longer equitable that the

judgment should have prospective application, not when it is no longer convenient to live with

the terms of a consent decree.” (citation omitted)). The parties finalized the Settlement Agreement

just five months ago. ECF 205. While Defendants now assert “there is a strong public interest in

ensuring the safety of citizens of the United States and protecting them from foreign invasions

and designated terrorist organizations,” ECF 248 at 26, Defendants have provided no evidence,

or even any specific allegations, as to how Cristian, or any other Class Member, poses a threat to

public safety. Cf. ECF 248-1 ¶¶ 13-14 (“ICE determined that [Cristian] was subject to the [AEA]

Proclamation…On March 15, 2025, [Cristian] was removed under the [AEA]…as a Venezuelan

citizen 14 years of age or older who is a member of TdA.”). This Court is a court of evidence,

resolving disputes by determining the facts based on evidence presented and applying relevant

law to those facts.

       At the motions hearing, Defendants suggested that evidence would be prohibited, citing



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Section VIII.D of the Settlement Agreement, which states “that no extrinsic evidence whatsoever

may be introduced in any judicial or other proceeding, if any, involving the interpretation of this

Agreement.” ECF 199-2 at 15. But here, Defendants are not asking this Court to make a

determination “involving the interpretation of this Agreement.” Defendants are asking this Court

to void the Settlement Agreement, which it just approved. The high bar of Rule 60(b) is not met

by conclusory assertions alone.

       Even if Rule 60(b) did not apply, this Court would decline, in the absence of any

particularized showing, to void Section III of the Settlement Agreement on public policy grounds.

In enforcing the Agreement’s terms, this Court takes into account the “public interest in

preventing aliens from being wrongfully removed, particularly to countries where they are likely

to face substantial harm,” Nken v. Holder, 556 U.S. 418, 436 (2009), and the public’s “interest in

seeing its governmental institutions follow the law,” Vitkus v. Blinken, 79 F.4th 352, 368 (4th

Cir. 2023) (citing Roe v. Dep’t of Def., 947 F.3d 207, 230-31 (4th Cir. 2020)). See also Alston v.

TowneBank, No. GJH-20-690, 2022 WL 971008, at *6 (D. Md. Mar. 31, 2022) (noting that

“public policy considerations favor the enforcement of settlement agreements”). The fact that

Defendants may have “second thoughts about the results of a settlement agreement does not

justify setting aside an otherwise valid agreement.” Young v. FDIC, 103 F.3d 1180, 1195 (4th

Cir. 1997).

                D. Remedies

       Defendants have breached the terms of the Settlement Agreement by removing at least

one Class Member from the United States while his asylum application remains pending with

USCIS. It is an axiomatic principle of contract law that when a defendant breaches a contract,

that defendant must restore the situation that existed before the breach. See Restatement (Second)



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of Contracts § 347 cmt. a (Am. Law Inst. 1981) (“Contract damages are ordinarily based on the

injured party’s expectation interest and are intended to give him the benefit of his bargain…[and]

put him in as good a position as he would have been in had the contract been performed.”); id. §

344 cmt. a (“Ordinarily, when a court concludes that there has been a breach of contract, it

enforces the broken promise by protecting the expectation that the injured party had when he

made the contract…[and] attempting to put him in as good a position as he would have been in

had the contract been performed, that is, had there been no breach.”); Hewitt v. Dyck-O’Neal,

Inc., No. 20-1322, 2021 WL 3784867, at *1 (D. Md. Aug. 26, 2021) (describing a motion to

enforce a settlement agreement as “tantamount to an action for specific performance of

a contract” (citation omitted)). In the case of Cristian, this requires putting him in the position “to

ensure that his case is handled as it would have been had he not been improperly sent to El

Salvador.” Noem v. Abrego Garcia, No. 24-A949, 604 U.S. __, 2025 WL 1077101, at *1 (Apr.

10, 2025). In other words, under contract law principles, Cristian, and any other Class Member

who has been removed in violation of the Settlement Agreement, must be returned to the United

States to await adjudication of his asylum application on the merits by USCIS. See ECF 199-2 at

9, Section III.I.

        Of course, that ruling puts this case squarely into the procedural morass that has been

playing out very publicly, across many levels of the federal judiciary, in Abrego Garcia v. Noem,

No. 8:25-cv-00951 (D. Md.). As of the date of this order, discovery is underway regarding the

government’s efforts to comply with court orders (including from the United States Supreme

Court) to “facilitate” Mr. Abrego Garcia’s return to the United States. See id. at ECF 79. This

Court is mindful of the Supreme Court’s reminder to afford the “deference owed to the Executive

Branch in the conduct of foreign affairs.” Noem, 2025 WL 1077101, at *2. However, this Court



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is also guided by, and fully agrees with, the definition of “facilitate” espoused by Judge Xinis

and the United States Court of Appeals for the Fourth Circuit in Abrego Garcia. See No. 8:25-

cv-00951, ECF 79 at 4 (D. Md. Apr. 15, 2025) (“Defendants therefore remain obligated, at a

minimum, to take the steps available to them toward aiding, assisting, or making easier Abrego

Garcia’s release from custody in El Salvador and resuming his status quo ante.”); No. 25-1404

(4th Cir. Apr. 17, 2025) (“‘Facilitate’ is an active verb. It requires steps to be taken as the Supreme

Court has made perfectly clear…The plain and active meaning of the word cannot be diluted by

its constriction…to a narrow term of art.”); Abrego Garcia v. Noem, No. 25-1345, 2025 WL

1021113, at *6 (4th Cir. Apr. 7, 2025) (Wilkinson, J. concurring) (noting that removed individuals

“can be afforded effective relief by facilitation of their return”). Standing by and taking no action

is not facilitation. In prior cases involving wrongfully removed individuals, courts have ordered,

and the government has taken, affirmative steps toward facilitating return. See Nat’l Immigr.

Project of Nat’l Laws. Guild, No. 11-CV-3235 JSR, ECF No. 79-4 at 40-46 (S.D.N.Y. July 16,

2014) (describing “the government’s procedures for facilitating return” after removal of

noncitizen); id., ECF 16-4 at 19-25 (engaging ICE Attaché in South Africa to facilitate the return

of a removed noncitizen in Ethiopia); id., ECF No. 38-6 at 31 (working with U.S. Embassy in

Tokyo to secure return of removed noncitizen); Hamama v. Adducci, No. 2:17-cv-11910, ECF

513 (E.D. Mich. Jan. 15, 2019) (ordering defendants to “use all best efforts to ensure” return of

noncitizen who was removed in violation of court’s order and providing specific directives to

facilitate return).

        Thus, like Judge Xinis in the Abrego Garcia matter, this Court will order Defendants to

facilitate Cristian’s return to the United States so that he can receive the process he was entitled

to under the parties’ binding Settlement Agreement. This Court further orders that facilitating



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Cristian’s return includes, but is not limited to, Defendants making a good faith request to the

government of El Salvador to release Cristian to U.S. custody for transport back to the United

States to await the adjudication of his asylum application on the merits by USCIS. 6

                 E. Motions to Proceed Under Pseudonym

         Class Counsel filed two motions, ECF 231, 236, seeking to maintain the anonymity of the

Class Members at issue in their filings by proceeding under pseudonym. 7 Specifically, Class

Counsel notes that the Court has previously permitted the Named Plaintiffs in this litigation to

proceed by pseudonym, ECF 55, 116, and requests that other Class Members be permitted to do

the same because of “the strong public interest in restricting the asylum seeker’s identity from

the public;” the “risk of retaliation to the Class Member if his identity is made public;” and the

lack of any prejudice to Defendants, who are aware of the Class Members’ identities. ECF 231

at 2, ECF 236 at 2. Defendants object, arguing that Plaintiffs “have not established that the

privacy concerns at issue outweigh the significant public interest in open proceedings.” ECF 249

at 1.

         Federal Rule of Civil Procedure 10(a) mandates generally that pleadings contain the

names of parties. However, courts may exercise their discretion in allowing parties to proceed by

pseudonym and consider “the circumstances of particular cases,” including “that privacy or

confidentiality concerns are sometimes sufficiently critical.” James v. Jacobson, 6 F.3d 233, 238

(4th Cir. 1993) (noting “a judicial duty to inquire into the circumstances of particular cases to



6
 Of course, the Settlement Agreement does not entitle Class Members to USCIS approval of an
asylum application. The Agreement does not guarantee results, but it does guarantee process.
Defendants have deprived Cristian of the benefit of the Class’s bargain.
7
 ECF 236 relates to a motion for Temporary Restraining Order concerning a Class Member
called “Javier.” ECF 235. At present, to this Court’s understanding, Javier remains in the United
States.

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determine whether the dispensation is warranted”). The Fourth Circuit has articulated a list of

non-exhaustive factors “as guides to a proper exercise of discretion”:

        [(1)] whether the justification asserted by the requesting party is merely to avoid the
        annoyance and criticism that may attend any litigation or is to preserve privacy in a
        matter of sensitive and highly personal nature; [(2)] whether identification poses a risk
        of retaliatory physical or mental harm to the requesting party or even more critically,
        to innocent non-parties; [(3)] the ages of the persons whose privacy interests are sought
        to be protected; [(4)] whether the action is against a governmental or private party; and
        [(5)] the risk of unfairness to the opposing party from allowing an action against it to
        proceed anonymously.

James v. Jacobson, 6 F.3d 233, 238–39 (4th Cir. 1993).

        The Class Members at issue here are two “Venezuelan youth seeking asylum in the United

States.” ECF 231-1 at 4; ECF 236-1 at 4. Courts have addressed “the unique vulnerabilities of asylum

seekers” and “allowed them to proceed pseudonymously as a result.” Doe v. U.S. Immigr. & Customs

Enf’t, No. 1:23-cv-00971-MLG-JMR, 2024 WL 4389461, at *2 (D.N.M. Oct. 3, 2024) (collecting

cases). Here, Plaintiffs’ declarations make clear that they do not seek to proceed under pseudonym

“merely to avoid…annoyance and criticism” but “to preserve privacy” and security in a “sensitive”

matter. See James, 6 F.3d at 238; ECF 228 (under seal) ¶ 5 (Class Member Cristian came to the United

States “fleeing danger and threats in Venezuela”); ECF 242 (under seal) ¶¶ 5-6 (Class Member Javier

came to the United States “to escape political violence in Venezuela that directly targeted his

family.”). Relatedly, Plaintiffs have sufficiently alleged that disclosure of their identities poses a risk

of retaliatory harm. Plaintiffs clearly face the risk of retaliatory harm in their home country, as well

as in detention in El Salvador and potentially within the United States, if their identities are made

public. The threat of physical retaliatory harm within El Salvador’s prisons and within the United

States has prompted other courts considering analogous factual circumstances to permit

pseudonymity. See, e.g., D.B.U. v. Trump, No. 25-cv-1163, ECF 11 (D. Colo. Apr. 14, 2025); G.F.F.

v. Trump, No. 25-cv 2886, ECF 10 (S.D.N.Y. Apr. 8, 2025). The first and second James factors thus

weigh in favor of permitting Plaintiffs to proceed under pseudonym.


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        As to the third James factor, Cristian is 20 years old, ECF 231-1 at 5, and Javier is 18 years

old, ECF 236-1 at 5. While these Plaintiffs are no longer minors, this Court has previously permitted

Named Plaintiffs, who were all at least 18 years old when this litigation was filed, to proceed using a

pseudonym, see ECF 91, 55, 116. Moreover, early in this litigation, this Court approved a Protective

Order that directs the parties to maintain the confidentiality of Class Members’ “identifying

information” including “their names.” ECF 136-1 at 2-3 (“Plaintiffs’ and other putative class

members’ identifying information, including their names…shall be subject to the terms of this Order,

and pursuant to the Court’s orders granting Plaintiffs’ motions to proceed using pseudonyms, the

Parties will, in all public documents or Court filings or discussions in open Court, reference Plaintiffs

and other putative class members only by their initials”); ECF 144 at 3 (order entering proposed

protective order). Thus, this factor also leans in favor of maintaining Plaintiffs’ anonymity via using

pseudonyms.

        The final two James factors also weigh in favor of Plaintiffs. While “there is a heightened

public interest when an individual or entity files a suit against the government,” Plaintiffs’ individual

identities here are “incidental to the adjudication of [their] claims,” which seek to enforce their rights

under the Settlement Agreement. P.K. v. U.S. Customs & Border Prot., No. 22-1983, 2022 WL

22626436, at *3 (D.D.C. July 12, 2022) (citation omitted). Finally, Plaintiffs’ identities are already

known to Defendants, and Defendants do not argue that they are prejudiced in any way if Cristian

and Javier proceed by pseudonym.




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        IV.    Conclusion

        For the reasons set forth above, Class Counsel’s Emergency Motion to Enforce the

 Settlement Agreement, ECF 227, and Motions to Proceed Under Pseudonym, ECF 231, 236,

 will be GRANTED. A separate Order follows.



Dated: April 23, 2025                                          /s/
                                                      Stephanie A. Gallagher
                                                      United States District Judge




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